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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129-WJM

   ERIC COOMER, PH.D.,

         Plaintiff,

   v.
   MICHAEL J. LINDELL, FRANKSPEECH,
   LLC, AND MY PILLOW, INC.

         Defendants.


        [PROPOSED] ORDER GRANTING LEAVE TO PROVIDE LIMITED SCOPE
          REPRESENTATION UNDER D.C.COLO. LAttyR 2(b)(1) and LAttyR 5(a)


            Under D.C.COLO.LAttyR 2(b)(1) and LAttyR 5(a) of the District of Colorado Local

   Rules of Practice and for good cause shown, the Unopposed Motion for Leave to Provide

   Limited Scope Representation filed by Scott Eric Gessler, Esq. filed February 6, 2023; ECF

   No.       is granted. Scott Eric Gessler may represent Tina Peters for the limited purpose of

   representing her with respect to the discovery dispute involving the subpoena served upon

   Ms. Peters by Plaintiff.

            At the conclusion of this limited representation, Mr. Gessler shall file a motion for

   leave to withdraw from providing limited scope representation.

            DATED at Denver, Colorado, this     day of February, 2023.

                                                         BY THE COURT:


                                                         United States District / Magistrate Judge
